Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 1 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 2 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 3 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 4 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 5 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 6 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 7 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 8 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                          Document     Page 9 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 10 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 11 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 12 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 13 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 14 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 15 of 16
Case 21-11942   Doc 60   Filed 06/03/22 Entered 06/03/22 10:33:17   Desc Main
                         Document      Page 16 of 16
